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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

CRIMINAL No.
11-10260-NMG

                            UNITED STATES OF AMERICA

                                            v.

                                    AARON SWARTZ

                            ORDER ON EXCLUDABLE TIME

                                   December 14, 2011
DEIN, M.J.

       With the agreement of the parties, this court finds and concludes, pursuant to

the provisions of 18 U.S.C. § 3161(h)(7)(A) and Section 5(b)(7)(B) of the Plan for

Prompt Disposition of Criminal Cases in the United States District Court for the District

of Massachusetts (Statement of Time Limits Adopted by the Court and Procedures for

Implementing Them, Effective December 2008) that the defendant requires additional

time for the preparation of an effective defense, including time for review of the

evidence, preparation of motions and consideration of alternatives concerning how best

to proceed, and that the interests of justice outweighs the best interests of the public

and the defendant for a trial within seventy days of the return of an indictment, and that

not granting this continuance would deny counsel for the defendant a reasonable time

necessary for effective preparation. See 18 U.S.C. § 3161(h)(7)(B)(iv).

       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable

time for the period of

                     December 14, 2011 through January 25, 2012,
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that being the period between the expiration of the last order on excludable time and

the next status conference.

      Based upon the prior orders of the court dated July 19, 2011, September 9,

2011, November 8, 2011 and this order, at the time of the Interim Status Conference on

January 25, 2012 there will be zero (0) days of non-excludable time under the Speedy

Trial Act and seventy (70) days will remain under the Speedy Trial Act in which this

case must be tried.

                                                   / s / Judith Gail Dein
                                                 JUDITH GAIL DEIN
                                                 United States Magistrate Judge




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